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                      Exhibit 4
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   APPLICATION NO.            FILING DATE         FIRST NAMED INVENTOR   I   ATTORNEY DOCK.ET NO.         I   CONFIRMATION NO.

      09/164,777               10/01/1998            MIKIMULLOR                  REINC4237.0I                       7068

                       7590          01/1512002

       SPENCER AND FRANK                                                                           EXAMINER
       SUITE 300 EAST
       1100 NEW YORK AVENUE NW                                                           HEWITI II, CALVTN L
       WASHINGTON, DC 200053955
                                                                                  ART UNIT                     PAPER NUMBER

                                                                                       2161

                                                                         DATE MAILED: 01/15/2002
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Please find below and/or attached an Office communication concerning this application or proceeding.




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PT0-90C (Rev. 07-01)




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                          Case 1:20-cv-00034-ADA Document 44-5 Filed 03/20/20 Page 3 of 13
                                                                                        Application No.                                Applicant(s)

                                                                                           09/164,777                                  MULLOR ET AL.
                       Office Action Summary                                            Examiner                                       Art Unit
                                                                 Calvin L Hewitt II                2161
                  -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address -
  Period for Reply
         A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE J MONTH($) FROM
         THE MAILING DATE OF THIS COMMUNICATION.
         -   Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event , however, may a reply be timely filed
             after SIX (6) MONTHS from the mailing date of this communication.
         -   If the period for reply specified above is less than thirty (30) days, a reply within the statutory minimum of thirty (30) days will be considered timely.
         -   If NO period for reply is specified above , the maximum statutory period will apply and will expire SIX (6) MONTHS from the mall ing date of this communication .
         -   Failure to reply within the set or extended period for reply wlll, by statute, cause the application to become ABANDONED (35 U.S.C . § 133).
         -   Any reply received by the Office later than three months after the mail ing date of this communication, even if timely filed, may reduce any
             earned patent term adjustment. See 37 CFR 1.704(b).
  Status
         1)~        Responsive to communication(s) filed on 14 November 2001 .
      2a)O          This action is FINAL.                              2b)l2;1 This action is non-final.
         3)0        Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
                    closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11 , 453 O.G . 213.
  Disposition of Claims                             .,:_\.   .....
         4)~ Claim(s)              f-z..3   is/are pending in the application .
                  4a) Of the above claim(s) _ _ is/are withdrawn from consideration .
         5)0 Claim(s) _ _ is/are allowed .
        6)~ Claim(s) 1-23 is/are rejected.
         7)0 Claim(s) _ _ is/are objected to.
         8)0 Claim(s) _ _ are subject to restriction and/or election requirement.
  Application Papers
         9)0 The specification is objected to by the Examiner.
      10)0 The drawing(s) filed on _ _ is/are: . a)O accepted or b)O objected to by the Examiner.
                     Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
      11)0 The proposed drawing correction filed on _ _ is: a)O approved b)O disapproved by the Examiner.
                     If approved, corrected drawings are required in reply to this Office action.
      12)0 The oath or declaration is objected to by the Examiner.
  Priority under 35 U.S.C. §§ 119 and 120
      13)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
              a)O All b)O Some • c)O None of:
                   1.0 Certified copies of the priority documents have been received .
                   2.0      Certified copies of the priority documents have been received in Application No. _ _ .
                   3.0
                     Copies of the certified copies of the priority documents have been received in this National Stage
                          application from the International Bureau (PCT Rule 17.2(a)).
              •Seethe attached detailed Office action for a list of the certified copies not received .
     14)0 Acknowledgment is made of a claim for domestic priority under 35 U.S.C. § 119(e) (to a provisional application) .
          a) 0 The translation of the foreign language provisional application has been received.
      15)0 Acknowledgment is made of a claim for domestic priority under 35 U.S.C . §§ 120 and/or 121.
  Attachment(s)

  1) ~ Notice of References Cited (PT0-892)                                                            4)   0   Interview Summary (PT0-413) Paper No(s). _ _ .
  2) 0 Notice of Draftsperson's Patent Drawing Review (PT0-948)                                        5)   0   Notice of Informal Patent Application (PT0-152)
  3) ~ Information Disclosure Statement(s) (PT0-1449) Paper No(s)                   11 .               6)   0   Other:

U.S. Patent and Trademark Office
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                                          Status of Claims



1.               Claims 1-23 have been examined.



                                 Claim Rejections - 35 USC § 112



2.               The following is a quotation of the first paragraph of 35 U.S.C. 112:

       The specification shall contain a written description of the invention, and of the manner and process of
       making and using it, in such full, clear, concise, and exact terms as to enable any person skilled in the
       art to which it pertains, or with which it is most nearly connected , to make and use the same and shall
       set forth the best mode contemplated by the inventor of carrying out his invention.

3.               Claims 11, 12, 15 and 16 are rejected under 35 U.S.C. 112, first

       paragraph, as containing subject ~atter which was not described in the

       specification in such a way as to enable one skilled in the art to which it pertains,

       or with which it is most nearly connected, to make and/or use the invention.

                 Claims 11, 12 and 15 are rejected as flash memory is a type of EEPROM.

       Flash memory can be used as a computer BIOS. Therefore, a computer BIOS

       would not contain an EEPROM and/or ROM section.

                 Claim 16 is rejected because a key cannot be simultaneously "unique" and

       "pseudo-unique".




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4.               The following is a quotation of the second paragraph of 35 U.S.C. 112:

      . The specification shall conclude with one or more claims particularly pointing out and distinctly
       claiming the subject matter which the applicant regards as his invention.




5.               Claims 20 and 21 are rejected under 35 U.S.C. 112, second paragraph, as

       being indefinite for failing to particularly point out and distinctly claim the subject

       matter which applicant regards as the invention.

                 Claim 20 recites, "loading a software program residing in volatile memory

       area of the computer''. This limitation would not be clear to one of ordinary skill as

       the software would have to be loaded a priori in order to reside in volatile

       memory.

                 Claim 21 is rejected because it deP.ends from claim 20.



                                 Claim Rejections - 35 USC § 103



6.               The following is a quotation of 35 U.S.C. 103(a) which forms the basis for

       all obviousness rejections set forth in this Office action:

      (a) A patent may not be obtained though the invention is not identically disclosed or described as set
      forth in section 102 of this title, if the differences between the subject matter sought to be patented and
      the prior art are such that the subject matter as a whole would have been obvious at the time the

      invention was made to a person having ordinary skill in the art to which said subject matter pertains.
      Patentability shall not be negatived by the manner in which the invention was made .




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7.               Claims 1-23 have been rejected under 35 U.S.C. 103(a) as being

       unpatentable over Misra et al., U.S. Patent No. 6,189,146, Goldman et al., U.S.

       Patent No. 5,684,951 . and Ewertz et al., U.S. Patent No. 5,479,639.

                 Misra et al. teach a system and method for software licensing that

       comprises:

                    •   selecting a program from volatile memory (figure 2)

                    •   using data stored in various memory locations to implement the

                        system (figure 2; column 5, lines 2-67)

                    •   using an agent to set up a verification structure in computer

                        memory where structure data includes a license record (column 4,

                        lines 14-20 and 49-67; column 11, lines 45-59; column 12, lines 8-

                        31)

                    •   verifying and acting on the program according to the verification

                        structure (e.g. software license) (column/line 13/65-14/53;

                        column/line 14/54-17/40)

                    •   a licensing authentication bureau in a two-way connection with a

                        computer that handles requests for licenses (where license data

                        includes computer identification and license record contents},

                        encrypts a request for license (e.g. license) using computer

                        identification, performs license validation and transfers a license to

                        a computer (figures 1 and 3-8; column 6, lines 50-64; column 9,




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                    •   lines 40-50; column/line 11/60-12/27; column/line 13/65-14/52;

                        column 15, lines 37-49)

                    •   a license that contains predetermined information (column 10, lines

                        60-67; column 11, lines 1-24)

                    •   storing a license record in non-volatile memory (column 12, lines 8-

                        27)

                    •   comparing licenses to determine validity and restricting the

                        program's operations if a license is determined to be invalid

                        (column 14, lines 30-51)

                    •   encryption using an identification of a computer that is a unique key

                        (column 15, lines 37-49)



                 Regarding the storage of encrypted licenses, Misra et al. teach licenses

       that are encrypted using a unique key as they are placed in storage (column 8,

       lines 35-52). Therefore, it would have been obvious to one of ordinary skill of the

       art to allow user nodes to store licenses in encrypted form for additional security.

       In addition, as Misra et al. implement their system using various computer

       system memory such as RAM (e.g. volatile) , ROM (which houses a BIOS),

       portable and hard disk memory (column 5, lines 37-67) it would have been

       obvious to perform encryption processes using the appropriate memory given the

      characteristics of the target system (figures 1 and 2). Misra et al. also teach




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       encryption keys and programs ("agent") used in the license collation process that

       belong to various parties (column 8, lines 35-52;_column 15, lines 37-54).

       Therefore, it would have been obvious to one of ordinary skill of the art to store

       these keys in non-volatile memory as these keys are used to securely

       communicate between and identify parties, as well as access encrypted data.

                 Misra et al., however, do not teach pseudo-unique keys nor constructing

       license records within a computer BIOS. Goldman et al. teach pseudo-unique

       keys (abstract) while, Ewertz et al. teach of expanding BIOS memory to store

       identification and/or configuration data such as software licenses (column 3, lines

       15-40; column/line 11/3-12/14). Therefore, it would have been obvious for one of

       ordinary skill of the art to combine the teachings of Misra et al., Goldman et al.

       and Ewertz et al. . Recall, Ewertz et al. teach of expanding non-volatile memory

       (e.g. BIOS) ('639, column 3, lines 15-40) for maintaining data such as software

       licenses. Hence, it would have been obvious to one of ordinary skill to use the

       BIOS to store licenses in the Misra et al. system as they teach of users storing

       license data in persistent- non-volatile storage ('146, column 12, lines 8-27). Also

       pseudo unique keys can be issued, on a temporary basis (say), ('951, abstract),

       to encrypt licenses ('146, column 13, lines 42-48). This allows a client to access

       secured data without comprising the security of the larger system.




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                                            Conclusion



8.               The prior art made of record and not relied upon is considered pertinent to

       applicant's disclosure:

                 •   Edenson et al. teach a system for protecting copyrighted program

                     material using a BIOS

                 •   Fette et al. teach a programmable radio and operating software in

                     accordance with a license

                 •   Steinberg et al. teach software branding

                 •   Smith et al. teach a system for distributing, reg istering and purchasing

                     software over a network using an agent program embedded in each

                     software application



9.               Any inquiry concerning this commun ication or earlier communications from

       the Examiner should be directed to Calvin Loyd Hewitt II whose telephone

       number is (703) 308-8057. The Exa_m iner can normally be reached on Monday-

       Friday from 8:30 AM-5:00 PM.

                 If attempts to reach the Examiner by telephone are unsuccessful, the

       Examiner's supervisor, James P. Trammell, can be reached at (703) 305-9768.




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         Art Unit: 2161




                          Any response to this action should be mailed to:

                                 Commissioner of Patents and Trademarks

                                 c/o Technology Center 2100

                                 Washington, D.C. 20231

                or faxed to:

                                 (703) 7 46-7239 (for formal communications intended for entry),

                                 (703) 746-7238 (for after-final communications),

                or:

                                 (703) 7 46-7240 (for informal or draft communications, please label

                                 "PROPOSED" or "DRAFT')

                          Hand-delivered responses should be brought to Crys~al Park II, 2121

                Crystal Drive, Arlington, VA, Sixth Floor (Receptionist).

                          Any inquiry of a general nature or relating to the status of this application

                should be directed to the Group receptionist whose telephone number is (703)

                305-3900.



                Calvin Loyd Hewitt II

                January 7, 2002




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                              Case 1:20-cv-00034-ADA Document 44-5 Filed 03/20/20 Page 11 of 13
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                                                                                       Calvin L Hewitt II                  2161

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